

Matter of Jacieon M. (India M.--Markeef R.) (2021 NY Slip Op 02720)





Matter of Jacieon M. (India M.--Markeef R.)


2021 NY Slip Op 02720


Decided on April 30, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2021

PRESENT: CARNI, J.P., LINDLEY, CURRAN, TROUTMAN, AND BANNISTER, JJ. (Filed Apr. 30, 2021.)


MOTION NO. (480/20) CAF 19-00425.

[*1]IN THE MATTER OF JACIEON M. AND NYLANI R. MONROE COUNTY DEPARTMENT OF HUMAN SERVICES, PETITIONER-RESPONDENT; INDIA M., RESPONDENT, AND MARKEEF R., RESPONDENT-APPELLANT.



MEMORANDUM AND ORDER
Motions for reargument or leave to appeal to the Court of Appeals dismissed as untimely.








